Case 08-51628-KJC Doci1-2 Filed 10/28/08 Page1of7

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
In re: Chapter 11

DURA AUTOMOTIVE SYSTEMS, INC.,
et al.,'

Case No. 06-11202 {KJC)

Jointly Administered
Debtors

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DURA AUTOMOTIVE SYSTEMS, INC.,  )
et al., )
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Plaintiffs, )

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Vv. Adv. No. 08 ( }

ADA TECHNCLOGIES, INC.,

Defendant.

COMPLAINT TO AVOID AND RECOVER PREFERENTIAL TRANSFERS
AND OBJECTION TO CLAIMS PURSUANT TO 11 U.S.C. §$§ 502 (d)

Dura Automotive Systems, Inc. and its affiliated
reorganized debtors and debtors in possession (collectively,

“Plaintiffs” or “Debtors”), by and through their undersigned

+ The Debtors are the following entities: Adwest Electronics, Inc.;

Atwood Automotive, Inc.; Atwood Mobile Preducts, Inc.; Automotive Aviation
Partners, LLC; Creation Group Holdings, Inc.; Creatiom Group Transportation,
Inc.; Creation Windows, Inc.; Creation Windows, LLC; Dura Aircraft Operating
Company, LLC; Dura Automotive Canada ULC; Dura Automotive Systems (Canada),
Ltd.; Dura Automotive Systems Cable Operations, Inc.; Dura Automotive Systems
of Indiana, Inc.; Dura Automotive Systems, Inc.; Dura Brake Systems, LLC;
Dura Cables North LLC; Dura Cables South LLC; Dura Canada LP; Dura Fremont
LLC; Dura Gladwin LLC; Dura Global Technologies, Inc.; Dura GP; Dura Holdings
Canada LP; Dura Holdings ULC; Dura Mancelona LLC; Dura Ontario, Inc.; Dura
Qperating Canada LP; Dura Operating Corp.; Dura Services. LLC; Dura Shifter
LLC; Dura Spicebright, Inc.; Kemberly, Inc.; Kemberly LLC; Mark I Molded

Plastics of Tennessee, Inc.; Patent Licensing Clearinghouse LLC; Spec-Temp,
Inc.: Trident Automotive Canada Co.; ‘Trident Automotive, LiC; Trident
Automotive, LP; Trident Automotive, Ltd.; Universal Tool & Stamping Co., inc.

(collectively, the “Debtors”).

DETR_948305.1
Case 08-51628-KJC Doci1-2 Filed 10/28/08 Page 2 of 7

counsel, hereby allege as follows for their complaint against
ADA Technologies, Inc. (the “Defendant”}:

NATURE OF THE ACTION

1. This is an adversary proceeding brought pursuant to
Part VII of the Federal Rules of Bankruptcy Procedure to avoid
and recover certain preferential transfers made by Plaintiffs to
Defendant and for related relief. The Plaintiffs seek entry of
a judgment avoiding and recovering the transfers at issue
pursuant to 11 U.S.C. §§ 547 and 550, and disallowing any claim
of the Defendant pursuant to 11 U.S.C. § 502(d) until the
Defendant pays the transfers in full to the Plaintiffs.

BACKGROUND AND PARTIES

2. On October 30, 2006 (the “Petition Date”}, each of the
Debtors filed a voluntary petition for relief under chapter 11
of title 11 of the United States Code, 11 U.S.C. §§ 101-1532
{the “Bankruptcy Code”), with the United States Bankruptcy Court
for the District of Delaware (the “Court”).

3. On May 12, 2008, the Debtors filed The Debtors’
Revised Joint Plan of Reorganization Under Chapter 11 of the
Bankruptcy Code (With Further Technical Amendments) [Docket No.
3317 (the “Plan”). The Court confirmed the Plan on May 13,
2008, entering the Order Confirming Debtors’ Revised Joint Plan
of Reorganization Under Chapter 11 of the Bankruptcy Code

[Docket No. 3332]. The effective date of the Plan was June 27,

DETR_948305.14
Case 08-51628-KJC Doci1-2 Filed 10/28/08 Page 3 of 7

2008 (the “Hfifective Date”). See Notice of Effective Date and

Final Fee Application Deadline [Docket No. 3518].

4, Pursuant to the Plan, all Causes of Action (as defined
in the Plan), including claims brought pursuant to §§ 547 and
550 of the Bankruptcy Code, vested in Plaintiffs as of the
EBffective Date.

5. Upon information and belief, Defendant is either a
corporation, ‘partnership, governmental unit, individual, or
entity, who transacted business in the United States with the
Debtors and who received one or more transfers from the Debtors.
Prior to the Petition Date, the Defendant did business with one
or more of the Debtors.

JURISDICTION AND VENUE

6. The Court has jurisdiction over this adversary

proceeding pursuant to 28 U.S.C. §§ 157 and 1334.

7. Venue is proper in this District pursuant to 28 U.8.C.
§ 1409(a).
8. This adversary proceeding is a core proceeding under

28 U.S.C. §§ 157(b) (2) (B), (F) and (0).

THE TRANSFERS

9. One or more of the Debtors made one or more transfers
of an interest in property of the Debtors in an aggregate amount
mot less than the amount set forth in Exhibit A hereto on or

within 90 days before the Petition. Date (the “Preference

DETR_948305.1
Case 08-51628-KJC Doci1-2 Filed 10/28/08 Page 4of7

Period”). The transfers are listed on the summary attached as
Exhibit A and are incorporated by reference.

10. Exhibit A reflects Plaintiffs’ current knowledge of
the transfers made to the Defendant during the Preference
Period. During the course of this proceeding, Plaintiffs may
learn (through discovery or otherwise) of additional transfers
made to Defendant during the Preference Period. Plaintiffs’
intention is to avoid and recover all such transfers, regardless
of whether or not such transfers presently are reflected on
Exhibit A. Collectively, all transfers made by Debtors of an
interest of Debtors in property to or for the benefit of

Defendant during the Preference Period (whether such transfers
presently are reflected in Exhibit A or not) are referred to
herein as the “Transfers”.

COUNT I
{Avoidance of Preferential Transfers)

11. Plaintiffs reallege and incorporate by reference each
of the allegations contained in the preceding paragraphs as
though fully set forth herein.

12. At the time of each of the Transfers, the Defendant
was a creditor of the Debtors within the meaning of 11 U.S.C.
§ 101(10) (A).

13. The Transfers were to or for the benefit of the

Defendant.

DETR_948305.1
Case 08-51628-KJC Doci1-2 Filed 10/28/08 Page5of7

14. The Transfers were for, or on account of, an
antecedent debt owed by the Debtors before the Transfers were
made.

15. The Transfers were made while the Debtors were
insolvent.

16. The Transfers were made on or within ninety (90) days
before the Petition Date; or between ninety days and one year
before the Petition Date, if the Defendant at the time of such
transfer was an insider.

17. The Transfers enabled the Defendant to receive more
than it would have received in a case under Chapter 7 of the
Bankruptcy Code, if the Transfers had not been made, and if the
Defendant received payment of the antecedent debt to the extent
provided by the provisions of Title 11 of the United States
Code.

18. Pursuant to 11 U.S.c. § 547(b), the Transfers are
avoidable as preferential transfers.

COUNT IT
(Recovery of Avoided Transfers)

19. Plaintiffs reallege and incorporate by reference each
ef the allegations contained in the preceding paragraphs as
though fully set forth herein.

20. Defendant was the initial transferee of the Transfers,

or the entity for whose benefit the Transfers were made, or the

DETR_948305.1
Case 08-51628-KJC Doci1-2 Filed 10/28/08 Page 6of7

immediate or mediate transferee of the initial transferee
receiving such Transfers.
a1. Plaintiffs are entitled to recover the value of each
of the Transfers, plus interest from the date of demand,
pursuant to Section 550(a) of the Bankruptcy Code.
COUNT ZIT
(Disallowance of Claims)

22. Plaintiffs reallege and incorporate by reference each
ef the allegations contained in the preceding paragraphs as
though fully set forth herein.

23. Defendant has not paid to the Plaintiffs the Transfers
and, as such, any claim which it has must be disallowed pursuant
to 11 U.S.C. § 502(d) pending payment in full of the Transfers
to the Plaintiffs.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court
enter judgment in favor of Plaintiffs and against the Defendant
as follows:

A. Declaring that the Transfers made to the Defendant are
preferential and are avoidable;

B. Avoiding and setting aside such Transfers as

preferential;

DETR_948305.1
Case 08-51628-KJC Doci1-2 Filed 10/28/08 Page 7 of 7

Cs Directing the

amount of the Transfers,

Defendant to pay to

Plaintiffs the

Sagehiee with pre-judgment and post-

Sindienuesrit interest and the Plaintiffs’ costs; and
D.. Granting to Plaintiffs all other relief as is just and
proper.
Dated: October 28, 2008 Respectfully submitted,
Wilmington, Delaware

DETR_948305.1

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